                                   Case 15-28607-JKO                     Doc 56     Filed 01/29/16             Page 1 of 82

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)        15-28607                                        Chapter you are filing under:

                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Gary
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Francis
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Hoste
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5959
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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Debtor 1   Gary Francis Hoste                                                                         Case number (if known)     15-28607




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have       I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 711 Bay Shore Drive, Apt. 302
                                 Fort Lauderdale, FL 33304
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Broward
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                       I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                Case 15-28607-JKO                     Doc 56        Filed 01/29/16            Page 3 of 82
Debtor 1    Gary Francis Hoste                                                                           Case number (if known)    15-28607


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                    Chapter 11
                                    Chapter 12
                                    Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the
                                  No.
     last 8 years?                Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy
    cases pending or being
                                  No
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your              No.        Go to line 12.
    residence?
                                  Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Gary Francis Hoste                                                                             Case number (if known)   15-28607


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?

                                    Yes.      Name and location of business

     A sole proprietorship is a
     business you operate as                   Gary Hoste, DC
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               2351 W. Atlantic Blvd.
     If you have more than one                 Pompano Beach, FL 33069
     sole proprietorship, use a
                                               Number, Street, City, State & ZIP Code
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                    No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                    No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                    Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                    No.
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                     Case 15-28607-JKO                  Doc 56          Filed 01/29/16      Page 5 of 82
Debtor 1    Gary Francis Hoste                                                                         Case number (if known)    15-28607
Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check          I received a briefing from an approved credit                I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                 I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about                I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                              Incapacity.      I have a mental illness or a               Incapacity.     I have a mental illness or a mental
                                                                mental deficiency that makes                                deficiency that makes me incapable
                                                                me incapable of realizing or                                of realizing or making rational
                                                                making rational decisions                                   decisions about finances.
                                                                about finances.

                                              Disability.      My physical disability causes              Disability.     My physical disability causes me to
                                                                me to be unable to participate                              be unable to participate in a briefing
                                                                in a briefing in person, by                                 in person, by phone, or through the
                                                                phone, or through the                                       internet, even after I reasonably tried
                                                                internet, even after I                                      to do so.
                                                                reasonably tried to do so.

                                              Active duty.     I am currently on active                   Active duty.    I am currently on active military duty
                                                                military duty in a military                                 in a military combat zone.
                                                                combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver of credit counseling with the               of credit counseling with the court.
                                         court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
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Debtor 1    Gary Francis Hoste                                                                            Case number (if known)     15-28607

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that         Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses
     are paid that funds will
                                            No
     be available for                       Yes
     distribution to unsecured
     creditors?

18. How many Creditors do         1-49                                           1,000-5,000                                25,001-50,000
    you estimate that you                                                         5001-10,000                                50,001-100,000
    owe?                          50-99
                                  100-199                                        10,001-25,000                              More than100,000
                                  200-999

19. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your assets to       $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
    be worth?
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

20. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your liabilities     $50,001 - $100,000                                                                         $1,000,000,001 - $10 billion
    to be?                                                                        $10,000,001 - $50 million
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Gary Francis Hoste
                                 Gary Francis Hoste                                                Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     January 29, 2016                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
                                Case 15-28607-JKO                        Doc 56    Filed 01/29/16              Page 7 of 82
Debtor 1   Gary Francis Hoste                                                                             Case number (if known)   15-28607




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Matthew S. Kish                                                Date         January 29, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Matthew S. Kish
                                Printed name

                                Kish Law Firm, PLLC
                                Firm name

                                1200 N. Federal Hwy
                                Suite 200
                                Boca Raton, FL 33432
                                Number, Street, City, State & ZIP Code

                                Contact phone    561-210-8365                                Email address         matt@kish-law.com
                                491460
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                         Case 15-28607-JKO                          Doc 56             Filed 01/29/16                    Page 8 of 82
 Fill in this information to identify your case:

 Debtor 1                   Gary Francis Hoste
                            First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

 Case number           15-28607
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $             288,323.17

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             288,323.17

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             336,539.57

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $              20,397.74

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $             958,251.46


                                                                                                                                    Your total liabilities $                  1,315,188.77


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                5,389.15

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                5,389.15

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
                                    Case 15-28607-JKO                 Doc 56        Filed 01/29/16            Page 9 of 82
 Debtor 1      Gary Francis Hoste                                                         Case number (if known) 15-28607

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            20,397.74

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            95,339.18

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $            115,736.92




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                       Case 15-28607-JKO                                Doc 56          Filed 01/29/16           Page 10 of 82
 Fill in this information to identify your case and this filing:

 Debtor 1                    Gary Francis Hoste
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF FLORIDA

 Case number            15-28607                                                                                                                                Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1504 N. Ocean Blvd., Unit 223                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Pompano Beach                     FL        33062-0000                        Land                                       entire property?          portion you own?
        City                              State              ZIP Code                 Investment property                                   Unknown                    Unknown
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                      Debtor 1 only                              Timeshare
        Broward                                                                       Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another        (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                               $0.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes



Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                  Case 15-28607-JKO                     Doc 56         Filed 01/29/16              Page 11 of 82
 Debtor 1       Gary Francis Hoste                                                                           Case number (if known)       15-28607
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                    $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                          Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    TV, Couch Set, Dining Set, Bed, Fouton, Fish Tank                                                                     $1,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
     Yes.     Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....

                                    Items in Lighthouse Point storage facility (nominal value):

                                    Wood shelving units
                                    Metal storage and file cabinets
                                    1 small refrigerator
                                    Various used tools
                                    Assorted holiday decorations
                                    Camping gear and other used sporting goods
                                    Assorted patient files

                                    2 refrigerators (owned by friend of debtor)                                                                             $100.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    (1) bicycle (5 years old)
                                    (1) set of gold clubs (10 years old, purchased used)                                                                      $50.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes.     Describe.....



Official Form 106A/B                                                 Schedule A/B: Property                                                                     page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
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 Debtor 1          Gary Francis Hoste                                                                                           Case number (if known)   15-28607
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Assorted used mens clothing, shoes, and other garments                                                                         $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            (1) mason's ring
                                            (1) silver wedding ring
                                            (1) Seiko watch                                                                                                                $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                               $1,750.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                               Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                     Cash                                    $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:
                                                                                                Bank United Checking Account -
                                                                                                XXXXXXXX1425
                                              17.1.                                             1730 Sunrise Blvd., Fort Lauderdale, FL                                $37,025.81


                                                                                                Citi Bank Checking Account -
                                              17.2.                                             3101 N. Federal Highway, Fort Lauderdale, FL                                 $70.00

                                                                           Owner: UCRC, Inc., dba Universal
                                                                           Chiropractic
                                                                           Bank of America
                                                         Business checking 2351 W. Atlantic Blvd.
                                              17.3.      acct: *4408       Pompano Beach, FL 33069                                                                           $26.87


Official Form 106A/B                                                                     Schedule A/B: Property                                                                page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
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 Debtor 1       Gary Francis Hoste                                                                       Case number (if known)      15-28607
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                      Type of account:                      Institution name:

                                                                            Suntrust West IRA                                                      $56,400.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                               Institution name or individual:


                                                                            Security Deposit with Souza Reality, LLC                                 $1,900.00
                                                                            P.O. Box 307
                                                                            Newport, KY 41072


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............          Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
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 Debtor 1       Gary Francis Hoste                                                                     Case number (if known)   15-28607


                                              FL Chiropractic Physician License No: CH9414

                                              Sub-Licenses:
                                              Cindi Chan - Reg. Chiro. Asst.
                                              Kristalee Suer - Reg. Chiro. Asst.                                                                  Unknown


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                         80% of any tax refund for FY 2015 (Jan. 1,
                                                            2015 through Petition Date)                      Federal                              Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                        Beneficiary:                           Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........




Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
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 Debtor 1       Gary Francis Hoste                                                                 Case number (if known)   15-28607


                                                     Malpractice and/or breach of fiduciary duty claim against The
                                                     Shochet Law Group and/or Randall M. Shochet, Esq., in
                                                     connection with representing the debtor in connection with
                                                     his ownership of CBA Health & Wellness LLC, d/b/a Universal
                                                     Chiropractic, and/or UCRC Holdings, Inc.

                                                     (Claim value estimated to be $500,000.00, plus attorneys' fees
                                                     and costs incurred in defending that lawsuit filed in the U.S.
                                                     Southern District Court of Florida captioned: Miller v. Hoste;
                                                     Case No.: 11-CV-61946-Rosenbaum (the "MIller Lawsuit"))

                                                     Pursuant to the terms of a confidential settlement agreement
                                                     entered in connection with the Miller Lawsuit, Jeffery Miller is
                                                     entitled to 50% of the net recovery, if any, from the suit
                                                     against Shochet.                                                                       Unknown


                                                     Malpractice and/or breach of fiduciary duty claim against
                                                     RDH Services, Inc. in connection with providing bookeeping
                                                     and/or tax preparation services for CBA Health & Wellness
                                                     LLC, d/b/a Universal Chiropractic, and/or UCRC Holdings,
                                                     Inc. from the years 2008 through 2010

                                                     (Claim value estimated to be $500,000.00, plus attorneys' fees
                                                     and costs incurred in defending that lawsuit filed in the Miller
                                                     Lawsuit

                                                     Pursuant to the terms of a confidential settlement agreement
                                                     entered in connection with the Miller Lawsuit, Jeffery Miller is
                                                     entitled to 50% of the net recovery, if any, from any suit
                                                     against RDH Services.                                                                  Unknown


                                                     Contingent claims against Jeffery Miller and/or his agents for
                                                     breach of contract, slander and/or libel, disparagment, and/or
                                                     otherwise describing Debtor in bad light, in breach of
                                                     express terms of confidential Settlement Agreement

                                                     (Claim value unknown)                                                                  Unknown


                                                     Broward Co. County Court Case No: 2014-SC-015656-55 (PIP
                                                     Small Claims)
                                                     Breach of contract claim against Geico for alleged failure to
                                                     abide by terms of insurance policy                                                     $3,761.49


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..




Official Form 106A/B                                                 Schedule A/B: Property                                                       page 6
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 Debtor 1         Gary Francis Hoste                                                                                              Case number (if known)       15-28607


                                                          -92 oz. gold coins/plates - FMV a.o petition date: $105,957
                                                          (see detailed inventory list, with location, attached as Exhibit
                                                          2)
                                                          -3,726 oz. silver coins - FMV a.o petition date: $59,093 (see
                                                          detailed inventory list, with location, attached as Exhibit 2)
                                                          -17 oz. gold mapleleafs - FMV a.o petition date: $20,009

                                                          All items held in secured storage facilities in Singapore
                                                          and/or Lighthouse Point, FL, and are presumptively held as
                                                          tenancy by entirties. See In re Kossow, 325 B.R. 478, 485
                                                          (Bankr. S.D.Fla. 2005).                                                                                            $186,059.00



 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $285,293.17


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
    No
     Yes.      Describe.....


                                        Accounts receivable from personal chiropractic practice (nominal
                                        value)                                                                                                                                  Unknown


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.      Describe.....


                                        Various office equiptment:

                                        1 Electric stimulation machine - $500
                                        1 Chiro Table - $500
                                        3 Computers - $100
                                        2 massage tables - $50
                                        2 file cabinets - $50
                                        Patient file cabinet - $25
                                        Printer - $25
                                        2 Ikea desks - $20
                                        1 Massage Chair - $10                                                                                                                   $1,280.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.      Describe.....




Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 7
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 Debtor 1         Gary Francis Hoste                                                                                              Case number (if known)       15-28607


                                        Items in Lighthouse Point storage facility:

                                        1 x-ray machine
                                        1 chiropractic table
                                        6 office chairs
                                        Assorted plastic storage bins                                                                                                          Unknown


41. Inventory
     No
     Yes.      Describe.....


42. Interests in partnerships or joint ventures
     No
     Yes.      Give specific information about them...................
                                      Name of entity:                                                                               % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes.      Describe.....


44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................               $1,280.00

 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 8
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 Debtor 1         Gary Francis Hoste                                                                                                   Case number (if known)   15-28607

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                         $0.00
 56. Part 2: Total vehicles, line 5                                                                               $0.00
 57. Part 3: Total personal and household items, line 15                                                      $1,750.00
 58. Part 4: Total financial assets, line 36                                                                $285,293.17
 59. Part 5: Total business-related property, line 45                                                         $1,280.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                            +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $288,323.17              Copy personal property total             $288,323.17

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $288,323.17




Official Form 106A/B                                                              Schedule A/B: Property                                                                               page 9
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                                  Case 15-28607-JKO                        Doc 56           Filed 01/29/16            Page 44 of 82
 Fill in this information to identify your case:

 Debtor 1                Gary Francis Hoste
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           15-28607
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to
the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      TV, Couch Set, Dining Set, Bed,                                 $1,000.00                                                 11 U.S.C. § 522(b)(3)(B)
      Fouton, Fish Tank
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      (1) bicycle (5 years old)                                                                                                  Fla. Const. art. X, § 4(a)(2)
      (1) set of gold clubs (10 years old,
                                                                           $50.00                                      $0.00
      purchased used)                                                                        100% of fair market value, up to
      Line from Schedule A/B: 9.1                                                             any applicable statutory limit

      Assorted used mens clothing, shoes,                                                                                        Fla. Stat. Ann. § 222.25(4)
      and other garments
                                                                          $500.00                                   $500.00
      Line from Schedule A/B: 11.1                                                           100% of fair market value, up to
                                                                                              any applicable statutory limit

      (1) mason's ring                                                                                                           Fla. Const. art. X, § 4(a)(2)
      (1) silver wedding ring
                                                                          $100.00                                      $0.00
      (1) Seiko watch                                                                        100% of fair market value, up to
      Line from Schedule A/B: 12.1                                                            any applicable statutory limit

      Cash                                                                 $50.00                                               11 U.S.C. § 522(b)(3)(B)
      Line from Schedule A/B: 16.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 1 of 3
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 Debtor 1    Gary Francis Hoste                                                                         Case number (if known)     15-28607
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Bank United Checking Account -                                                                                              Fla. Const. art. X, § 4(a)(2)
     XXXXXXXX1425
                                                                     $37,025.81                                   $130.00
     1730 Sunrise Blvd., Fort Lauderdale,                                                 100% of fair market value, up to
     FL                                                                                    any applicable statutory limit
     Line from Schedule A/B: 17.1

     Bank United Checking Account -                                                                                              Fla. Stat. Ann. § 222.25(4)
     XXXXXXXX1425
                                                                     $37,025.81                                $2,500.00
     1730 Sunrise Blvd., Fort Lauderdale,                                                 100% of fair market value, up to
     FL                                                                                    any applicable statutory limit
     Line from Schedule A/B: 17.1

     Bank United Checking Account -                                                                                              Fla. Stat. Ann. § 222.11(2)(b)
     XXXXXXXX1425
                                                                     $37,025.81                               $34,395.81
     1730 Sunrise Blvd., Fort Lauderdale,                                                 100% of fair market value, up to
     FL                                                                                    any applicable statutory limit
     Line from Schedule A/B: 17.1

     Citi Bank Checking Account -                                                                                                Fla. Const. art. X, § 4(a)(2)
     3101 N. Federal Highway, Fort
                                                                          $70.00                                   $70.00
     Lauderdale, FL                                                                       100% of fair market value, up to
     Line from Schedule A/B: 17.2                                                          any applicable statutory limit

     Suntrust West IRA                                                                                                           Fla. Stat. Ann. § 222.21(2)
     Line from Schedule A/B: 21.1
                                                                     $56,400.00                               $56,400.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Security Deposit with Souza Reality,                             $1,900.00                                                 11 U.S.C. § 522(b)(3)(B)
     LLC
     P.O. Box 307                                                                         100% of fair market value, up to
     Newport, KY 41072                                                                     any applicable statutory limit
     Line from Schedule A/B: 22.1

     FL Chiropractic Physician License                                Unknown                                                   Fla. Const. art. X, § 4(a)(2)
     No: CH9414
                                                                                          100% of fair market value, up to
     Sub-Licenses:                                                                         any applicable statutory limit
     Cindi Chan - Reg. Chiro. Asst.
     Kristalee Suer - Reg. Chiro. Asst.
     Line from Schedule A/B: 27.1

     Federal: 80% of any tax refund for FY                            Unknown                                                   Fla. Stat. Ann. § 222.25(3)
     2015 (Jan. 1, 2015 through Petition
     Date)                                                                                100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit


     Federal: 80% of any tax refund for FY                                                                                       Fla. Const. art. X, § 4(a)(2)
     2015 (Jan. 1, 2015 through Petition
                                                                      Unknown                                           0%
     Date)                                                                                100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                  Case 15-28607-JKO                        Doc 56         Filed 01/29/16            Page 46 of 82
 Debtor 1    Gary Francis Hoste                                                                         Case number (if known)     15-28607
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim          Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     -(46) gold and silver coins/bars,                                                                                           Fla. Const. art. X, § 4(a)(2)
     assorted (approx. 1. oz each);
                                                                     $186,059.00                                  $800.00
     estimated value: $300,000.00, based                                                  100% of fair market value, up to
     on FMV a/o various purchase dates:                                                    any applicable statutory limit
     10/2009 - 06/2013

     -(1) gold mapleleaf (17 oz.);
     estimated value: $29,213, based on
     FMV a/o date of purchase: 01/2013
     Line from Schedule A/B: 35.1

     -(46) gold and silver coins/bars,                               $186,059.00                                                11 U.S.C. § 522(b)(3)(B)
     assorted (approx. 1. oz each);
     estimated value: $300,000.00, based                                                  100% of fair market value, up to
     on FMV a/o various purchase dates:                                                    any applicable statutory limit
     10/2009 - 06/2013

     -(1) gold mapleleaf (17 oz.);
     estimated value: $29,213, based on
     FMV a/o date of purchase: 01/2013
     Line from Schedule A/B: 35.1

     -(46) gold and silver coins/bars,                                                                                           Fla. Stat. Ann. § 222.25(4)
     assorted (approx. 1. oz each);
                                                                     $186,059.00                               $1,000.00
     estimated value: $300,000.00, based                                                  100% of fair market value, up to
     on FMV a/o various purchase dates:                                                    any applicable statutory limit
     10/2009 - 06/2013

     -(1) gold mapleleaf (17 oz.);
     estimated value: $29,213, based on
     FMV a/o date of purchase: 01/2013
     Line from Schedule A/B: 35.1

     Various office equiptment:                                                                                                  Fla. Const. art. X, § 4(a)(2)
                                                                       $1,280.00                                     $0.00
     1 Electric stimulation machine - $500                                                100% of fair market value, up to
     1 Chiro Table - $500                                                                  any applicable statutory limit
     3 Computers - $100
     2 massage tables - $50
     2 file cabinets - $50
     Patient file cabinet - $25
     Printer - $25
     2 Ikea desks - $20
     1 Massage Chair - $10
     Line from Schedule A/B: 39.1


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                     Case 15-28607-JKO                      Doc 56           Filed 01/29/16              Page 47 of 82
 Fill in this information to identify your case:

 Debtor 1                   Gary Francis Hoste
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           15-28607
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         CIT Small Business
 2.1                                                                                                          $336,539.57                 Unknown              Unknown
         Lending Corp.                            Describe the property that secures the claim:
         Creditor's Name                          Items in Lighthouse Point storage
                                                  facility:

                                                  1 x-ray machine
         c/o Kubicki Draper                       1 chiropractic table
         515 N. Flagler Drive,                    6 office chairs
         Suite 1800                               Assorted plastic storage bins
                                                  As of the date you file, the claim is: Check all that
         West Palm Beach, FL                      apply.
         33401                                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another  Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                               $336,539.57
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $336,539.57

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                  Case 15-28607-JKO                    Doc 56       Filed 01/29/16          Page 48 of 82

 Debtor 1 Gary Francis Hoste                                                                  Case number (if know)   15-28607
             First Name                 Middle Name                  Last Name




        Name Address
        -NONE-                                                                   On which line in Part 1 did you enter the creditor?

                                                                                 Last 4 digits of account number




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 2
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                                    Case 15-28607-JKO                          Doc 56           Filed 01/29/16                Page 49 of 82
 Fill in this information to identify your case:

 Debtor 1                   Gary Francis Hoste
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           15-28607
 (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim     Priority               Nonpriority
                                                                                                                                        amount                 amount
 2.1          Broward County Taxing Authority                        Last 4 digits of account number                          Unknown          Unknown               Unknown
              Priority Creditor's Name
              115 Andrews Avenue                                     When was the debt incurred?           2015
              Room A-100
              Fort Lauderdale, FL 33301
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                      Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only
                                                                      Disputed
         Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt
        Is the claim subject to offset?
                                                                      Taxes and certain other debts you owe the government
         No                                                          Claims for death or personal injury while you were intoxicated
         Yes                                                         Other. Specify
                                                                                         Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 12
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                                   Case 15-28607-JKO                           Doc 56           Filed 01/29/16               Page 50 of 82
 Debtor 1 Gary Francis Hoste                                                                                Case number (if know)           15-28607

 2.2        Internal Revenue Service                                 Last 4 digits of account number                        Unknown                Unknown                 Unknown
            Priority Creditor's Name
            Special Procedures - Field                               When was the debt incurred?         2015
            Insolvency
            7850 SW 6th Court
            Fort Lauderdale, FL 33324
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                      Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only
                                                                      Disputed
         Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt
        Is the claim subject to offset?
                                                                      Taxes and certain other debts you owe the government
         No                                                          Claims for death or personal injury while you were intoxicated
         Yes                                                         Other. Specify
                                                                                         Notice Only

 2.3        Internal Revenue Service                                 Last 4 digits of account number     X959              $20,397.74             $20,397.74                    $0.00
            Priority Creditor's Name
            Stop 6525 (SC CIS)                                       When was the debt incurred?         2013
            Kansas City, MO 64999-0025
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.1      ADT Security Services, LLC                                 Last 4 digits of account number       XXXX                                               $570.20
          Nonpriority Creditor's Name
          14200 E. Exposition Avenue                                 When was the debt incurred?           03/01/2013
          Aurora, CO 80012
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business security services


 4.2      Amex                                                       Last 4 digits of account number       3893                                                  $0.00
          Nonpriority Creditor's Name
          Correspondence                                                                                   Opened 6/01/93 Last Active
          Po Box 981540                                              When was the debt incurred?           10/01/11
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.3      ARMCHEM International Corp.                                Last 4 digits of account number       XXXX                                                $53.00
          Nonpriority Creditor's Name
          3563 NW 53rd Court                                         When was the debt incurred?           09/1/2013
          Fort Lauderdale, FL 33309
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.4      Charles L. Jaffee, P.A.                                    Last 4 digits of account number                                                       $2,500.00
          Nonpriority Creditor's Name
          7301A W. Palmetto Park Road, Ste.                          When was the debt incurred?
          305-C
          Boca Raton, FL 33433-3466
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          legal work regarding business settlement
           Yes                                                       Other. Specify     agreement

 4.5      CIT                                                        Last 4 digits of account number       6001                                         $323,904.33
          Nonpriority Creditor's Name
          One CIT Drive                                              When was the debt incurred?           2007
          Livingston, NJ 07039
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Foreclosure Judgment in connection with
                                                                                          secured business loan to purchase UCRC,
           Yes                                                       Other. Specify     Inc. (now defunct)

 4.6      Citi Cards                                                 Last 4 digits of account number       7067                                            $2,629.53
          Nonpriority Creditor's Name
          P.O. Box 6500                                              When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 12
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                                  Case 15-28607-JKO                         Doc 56               Filed 01/29/16           Page 53 of 82
 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.7      Citi Cards                                                 Last 4 digits of account number       1151                                               $356.47
          Nonpriority Creditor's Name
          P.O. Box 6500                                              When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     credit card


 4.8      Citibank/Best Buy                                          Last 4 digits of account number       1151                                                  $0.00
          Nonpriority Creditor's Name
          Centralized Bankruptcy/CitiCorp                                                                  Opened 3/01/05 Last Active
          Credit S                                                   When was the debt incurred?           9/28/15
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.9      Citibankna                                                 Last 4 digits of account number       8601                                                  $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 8/01/07 Last Active
          Citibank / One Sto                                         When was the debt incurred?           8/09/12
          O Fallon, MO 63368
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Check Credit Or Line Of Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.1      Dental Law Firm d/b/a Schocet Law
 0        Group                                                      Last 4 digits of account number       3156                                          $21,630.62
          Nonpriority Creditor's Name
          3900 Woodlake Blvd., Suite 202                             When was the debt incurred?
          Lake Worth, FL 33463
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
                                                                      Student loans
           Check if this claim is for a     community
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Default judgment against Debtor in
                                                                                          connection with legal fees incurred in
                                                                                          connection with UCRC Holdings, Inc.
           Yes                                                       Other. Specify     and/or UCRC, Inc.

 4.1
 1        Jeffrey Miller                                             Last 4 digits of account number                                                    $500,000.00
          Nonpriority Creditor's Name
          3422 Bermuda Court                                         When was the debt incurred?           4/8/2013
          San Ramon, CA 94582
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
                                                                      Student loans
           Check if this claim is for a     community
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Final Consent Judgment in favor of former
                                                                                          business partner in connection with UCRC
                                                                                          Holdings, Inc. and UCRC, Inc. (both now
                                                                                          defunct)

           Yes                                                       Other. Specify     (Subject to setoff of at least $36,625.80)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.1
 2        Navient                                                    Last 4 digits of account number       0213                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 2/13/04 Last Active
          Po Box 9500                                                When was the debt incurred?           10/09/14
          Wilkes-Barr, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational
 4.1
 3        Nelnet                                                     Last 4 digits of account number       6374                                                  $0.00
          Nonpriority Creditor's Name
          Nelnet Claims                                                                                    Opened 2/13/04 Last Active
          Po Box 82505                                               When was the debt incurred?           6/12/15
          Lincoln, NE 68501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational
 4.1
 4        Nelnet                                                     Last 4 digits of account number       6274                                                  $0.00
          Nonpriority Creditor's Name
          Nelnet Claims                                                                                    Opened 2/13/04 Last Active
          Po Box 82505                                               When was the debt incurred?           6/12/15
          Lincoln, NE 68501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.1
 5        Nelnet Inc.                                                Last 4 digits of account number       4518                                          $95,339.18
          Nonpriority Creditor's Name
          P.O. Box 82561                                             When was the debt incurred?           1994
          Lincoln, NE 68501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          student loan debt
 4.1
 6        Sage Capital Recovery                                      Last 4 digits of account number       8428                                               $158.18
          Nonpriority Creditor's Name
          1040 Kings Hwy N.                                          When was the debt incurred?
          Cherry Hill, NJ 08034
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     communications services


 4.1
 7        SPM Resorts - La Costa Beach Club                          Last 4 digits of account number       X470                                            $2,446.92
          Nonpriority Creditor's Name
          1504 N. Ocean Blvd.                                        When was the debt incurred?           2015
          Pompano Beach, FL 33062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     condo fees and expenses




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.1
 8        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       1821                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankrupty                                                                                  Opened 7/26/89 Last Active
          Po Box 103104                                              When was the debt incurred?           5/01/97
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account


 4.1
 9        U.S. Bank Equipment Finance                                Last 4 digits of account number       XXXX                                            $8,663.03
          Nonpriority Creditor's Name
          P.O. Box 790448                                            When was the debt incurred?
          Saint Louis, MO 63179-0448
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business equipment


 4.2
 0        Us Bank                                                    Last 4 digits of account number       8873                                                  $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 1/01/13 Last Active
          200 Gibraltar Rd Ste 315                                   When was the debt incurred?           6/21/13
          Horsham, PA 19044
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 9 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)        15-28607

 4.2
 1         World Omni Financial                                      Last 4 digits of account number       7749                                                         $0.00
           Nonpriority Creditor's Name
                                                                                                           Opened 5/15/13 Last Active
           6150 Omni Park Dr                                         When was the debt incurred?           11/30/15
           Mobile, AL 36609
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Lease

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Amex                                                          Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Po Box 297871                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Fort Lauderdale, FL 33329
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AXIS Financial Services                                       Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2774 Gateway Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Carlsbad, CA 92009
                                                               Last 4 digits of account number                 XXXX

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank/Best Buy                                             Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Po Box 6241                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Collections Unlimited, Inc.                                   Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1236                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Crystal River, FL 34423
                                                               Last 4 digits of account number                 1240

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comcast Cable Communications,                                 Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: Law Department
 One Comcast Center
 Philadelphia, PA 19103-2838
                                                               Last 4 digits of account number                 2226

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Euler Hermes Collections                                      Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 600 South 7th Street                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40203
                                                               Last 4 digits of account number                 XXXX

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kramer & Associates                                           Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 401 Hackensack Avenue                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 9th Floor

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 10 of 12
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 Debtor 1 Gary Francis Hoste                                                                              Case number (if know)         15-28607

 Hackensack, NJ 07601
                                                                Last 4 digits of account number                  2386

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Navient                                                        Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Po Box 9500                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilkes Barre, PA 18773
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Nelnet                                                         Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3015 S. Parker Rd, Ste 425                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Aurora, CO 80014
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Nelnet                                                         Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3015 S. Parker Rd, Ste 425                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Aurora, CO 80014
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Pinnacle Recovery, Inc.                                        Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 130848                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Carlsbad, CA 92013-0848
                                                                Last 4 digits of account number                  9XXX

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Small Business Administration                                  Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 801 Tom Martin Drive, Suite 120                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Birmingham, AL 35211
                                                                Last 4 digits of account number                  6001

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/ JC Penneys                                     Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Po Box 965007                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Transworld Systems Inc.                                        Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 507 Prudential Road                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Horsham, PA 19044
                                                                Last 4 digits of account number                  3503

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 World Omni Financial                                           Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Po Box 91614                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Mobile, AL 36691
                                                                Last 4 digits of account number

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                         Total claim
                        6a.   Domestic support obligations                                                 6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                         6b.       $                   20,397.74
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                        0.00

                        6e.   Total. Add lines 6a through 6d.                                              6e.       $                   20,397.74

                                                                                                                    Total Claim
                        6f.   Student loans                                                                6f.       $                   95,339.18
         Total
       claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 11 of 12
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 Debtor 1 Gary Francis Hoste                                                                         Case number (if know)   15-28607
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                   6g.      $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             862,912.28

                        6j.   Total. Add lines 6f through 6i.                                         6j.      $             958,251.46




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 12 of 12
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                                  Case 15-28607-JKO                       Doc 56   Filed 01/29/16           Page 61 of 82
 Fill in this information to identify your case:

 Debtor 1                Gary Francis Hoste
                         First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           15-28607
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                  State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

  2.1     Southeast Toyota Finance                                                   Sublease on 2013 Toyota Corolla
          P.O. Box 991817                                                            Acct# XXXXXXXXXXX4967749
          Mobile, AL 36691-8817




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Gary Francis Hoste
                            First Name                           Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name              Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number           15-28607
 (if known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                              12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?                -NONE-         . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                           Check all schedules that apply:


    3.1         UCRC Holdings, Inc.                                                                       Schedule D, line
                3838 N. University Drive                                                                  Schedule E/F, line        4.11
                Fort Lauderdale, FL 33351
                                                                                                          Schedule G
                                                                                                         Jeffrey Miller



    3.2         UCRC Holdings, Inc.                                                                       Schedule D, line
                3838 N. University Drive                                                                  Schedule E/F, line        4.10
                Fort Lauderdale, FL 33351
                                                                                                          Schedule G
                                                                                                         Dental Law Firm d/b/a Schocet Law Group




Official Form 106H                                                                   Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor 1 Gary Francis Hoste                                                            Case number (if known)   15-28607


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.3      UCRC Holdings, Inc.                                                              Schedule D, line       2.1
             c/o Kenneth Sandler, Esq.                                                        Schedule E/F, line
             2924 Davie Road, Suite 200
                                                                                              Schedule G
             Fort Lauderdale, FL 33314
                                                                                             CIT Small Business Lending Corp.




    3.4      UCRC Inc.                                                                        Schedule D, line
             P.O. Box 25056                                                                   Schedule E/F, line      4.19
             Fort Lauderdale, FL 33320-5056
                                                                                              Schedule G
                                                                                             U.S. Bank Equipment Finance



    3.5      UCRC Inc.                                                                        Schedule D, line
             3838 N. University Drive                                                         Schedule E/F, line      4.16
             Fort Lauderdale, FL 33351
                                                                                              Schedule G
                                                                                             Sage Capital Recovery



    3.6      UCRC, Inc.                                                                       Schedule D, line
             3838 N. University Drive                                                         Schedule E/F, line      4.11
             Fort Lauderdale, FL 33351
                                                                                              Schedule G
                                                                                             Jeffrey Miller



    3.7      UCRC, Inc. d/b/a Universal Chiropractic                                          Schedule D, line
             3838 N. Unversity Drive                                                          Schedule E/F, line      4.5
             Fort Lauderdale, FL 33351
                                                                                              Schedule G
                                                                                             CIT



    3.8      Universal Chiropractic                                                           Schedule D, line
             3838 N. University Drive                                                         Schedule E/F, line      4.1
             Fort Lauderdale, FL 33351-6300
                                                                                              Schedule G
                                                                                             ADT Security Services, LLC



    3.9      Universal Chiropractic                                                           Schedule D, line
             P.O. Box 25056                                                                   Schedule E/F, line      4.3
             Fort Lauderdale, FL 33320-5056
                                                                                              Schedule G
                                                                                             ARMCHEM International Corp.




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    Gary Francis Hoste
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number              15-28607
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

               Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Gary Francis Hoste                                                    X
              Gary Francis Hoste                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       January 29, 2016                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 Gary Francis Hoste
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number           15-28607
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                                Dates Debtor 2
                                                                lived there                                                                        lived there
        P.O. Box 668641                                         From-To:                     Same as Debtor 1                                      Same as Debtor 1
        Pompano Beach, FL 33066                                 12/2014 (PO Box                                                                    From-To:
                                                                only - for
                                                                business)

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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 Debtor 1      Gary Francis Hoste                                                                          Case number (if known)   15-28607


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 From January 1 of current year until               Wages, commissions,                       $192,465.50          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For last calendar year:                            Wages, commissions,                       $117,918.00          Wages, commissions,
 (January 1 to December 31, 2014 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                       $133,852.00          Wages, commissions,
 (January 1 to December 31, 2013 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Describe below..                 (before deductions and         Describe below.              (before deductions
                                                                                    exclusions)                                                 and exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                        No.       Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.
           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.       Go to line 7.
                        Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 1      Gary Francis Hoste                                                                          Case number (if known)   15-28607


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Yin Yang Management, Inc.                                See attached                  $86,000.00            Unknown         Payment for management
       711 Bayshore Drive, No. 302                              Exhibit 3                                                           services and
       Fort Lauderdale, FL 33304                                                                                                    reimbursement for
                                                                                                                                    business expenses (i.e.,
                                                                                                                                    payroll, etc.); company
                                                                                                                                    owned by debtor's wife,
                                                                                                                                    Cindi Chan


 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Miller v. Hoste, et al.                                  Declaratory                 US Southern District Court                 Pending
       2011-CV-61946-RSR                                        Action /                    of Florida                                 On appeal
                                                                Stockholder                 400 North Miami Ave.                       Concluded
                                                                Derivative Suit             Miami, FL 33128
                                                                                                                                    Settled / Consent Judgment
                                                                                                                                    entered on 09 April 2013

       The Dental Law Firm, P.A., d/b/a                         Civil Collection            Palm Beach County Court                    Pending
       The Shochet Law Group v. Gary                            Suit for attorneys          205 North Dixie Highway                    On appeal
       Hoste, et al.                                            fees                        West Palm Beach, FL 33401
                                                                                                                                       Concluded
       2013-CA-013156
                                                                                                                                    Default Judgment

       Jeffrey Miller v. Gary Hoste, et al.                     Domestication of            Broward Circuit Court                      Pending
       2015-CV-001694                                           Foreign Judgment            201 SE 6th S.                              On appeal
                                                                (Civil)                     Fort Lauderdale, FL 33301
                                                                                                                                       Concluded


       Hoste v. GEICO Insurance Co.                             Breach of contract          Broward County Court                       Pending
       2014-SC-015656                                           (insurance                  201 SE 6th St.                             On appeal
                                                                contract); claim            Fort Lauderdale, FL 33301
                                                                                                                                       Concluded
                                                                for $3,761.49


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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 Debtor 1      Gary Francis Hoste                                                                          Case number (if known)    15-28607


       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Hoste v. Progressive Express                             Lawsuit against             Broward County Court                        Pending
       Insurance Co.                                            insurance                   201 SE 6th St.                              On appeal
       2014-CC-015329                                           company for                 Fort Lauderdale, FL 33301                   Concluded
                                                                failure to
                                                                reimburse debtor
                                                                                                                                     vol. dismissal
                                                                with minimum
                                                                required PIP
                                                                coverage for
                                                                "emergency
                                                                medical
                                                                condition" under
                                                                Fla.Stat. 627.736

       CIT Small business Lending Corp.                         Action seeking to           Broward Circuit Court                       Pending
       v. Hoste, et al.                                         foreclose on                201 SE 6th St.                              On appeal
       2013-CA-004523                                           business assets             Fort Lauderdale, FL 33301                   Concluded
                                                                of UCRS
                                                                Holdings, Inc. and
                                                                                                                                     Final judgment
                                                                UCRC, Inc., all of
                                                                which were
                                                                secured by
                                                                promissory note
                                                                and loan
                                                                agreement


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No
           Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       Jeffrey Miller (insider)*                                Bank United Checking Account No. *1425                        March 25, 27                $36,625.80
       3422 Bermuda Court                                       $28,896.02 - garnished by Miller on March                     and 31, 2015
       San Ramon, CA 94582                                      25, 2015
                                                                $7,328.12 - garnished by Miller on March 27,
                                                                2015
                                                                $401.66 - garnished by Miller on March 31,
                                                                2015

                                                                *Miller is a statutory and/or non-statutory
                                                                insider because, inter alia, pursuant to a
                                                                Consent Judgment entered in the Miller
                                                                Lawsuit, Miller had a vested 50% interest in
                                                                the debtor's (now defunct) companies,
                                                                UCRC Holdings, Inc. and UCRC, Inc., at the
                                                                time of the garnishments

                                                                 Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.




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 Debtor 1      Gary Francis Hoste                                                                          Case number (if known)    15-28607


       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened
       CIT Small Business Lending Corp.                         All business assets of UCRC Holdings, Inc.                    12 Sept. 2013            Unknown
       One CIT Drive                                            and/or UCRC, Inc.                                             (Foreclosure
       Livingston, NJ 07039                                                                                                   Judgment)
                                                                 Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Various friends, family and/or                                8.2 oz. of gold coins/plates - FMV on                    2009 - 2015              $1,469.38
       employees                                                     petition date: $961.86
       Florida, Hong Kong and/or New York                            32 oz. of silver coins - FMV of petition
                                                                     date: $507.52
       Person's relationship to you: Various family                  See Exhibit 2 for breakdown of items
       members                                                       gifted


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.


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 Debtor 1      Gary Francis Hoste                                                                          Case number (if known)    15-28607


 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Mill Stone Legal Group, LLC                                   $2,500.00                                                October 11,               $2,500.00
       2110 NW 110th Lane                                                                                                     2015 - Cindi
       Pompano Beach, FL 33071                                                                                                Chan ($1,500)
                                                                                                                              October 19,
                                                                                                                              2015 - Debtor
                                                                                                                              ($1,000)


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                  Describe any property or         Date transfer was
       Address                                                       property transferred                      payments received or debts       made
                                                                                                               paid in exchange
       Person's relationship to you
       The Perth Mint                                                Various purchases/sales of                See Transaction                  May - October
       310 Hay Street                                                gold and other precious                   Printout, attached as            2012
       East Perth, WA 6004                                           metals (outside of 2 year                 Exhibit 1
       Australia                                                     period)
                                                                     See Transaction Printout,
       None                                                          attached as Exhibit 2

       APMEX, Inc.                                                   Various purchases/sales of                See Order                        Oct. 2009 - June
       226 Dean A. McGee Avenue                                      gold and other precious                   History/transaction              2013
       Oklahoma City, OK 73102                                       metals                                    printout, attached as
                                                                                                               Exhibit 2
       None                                                          See Order
                                                                     History/transaction printout,
                                                                     attached as Exhibit 2


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made


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 Debtor 1      Gary Francis Hoste                                                                          Case number (if known)   15-28607


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was           Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)

       The Safe House SG Pte Ltd                                     Boxes/units are titled in             Class 1 Box - assorted gold          No
       506 Chai Cee Lane #01-01                                      the name of non-debtor                and silver coins/leaf bars           Yes
       Singapore 469026                                              spouse:                               Class II Box - assorted gold
       Singapore                                                                                           and silver coins/leaf bars
                                                                     Cindi Chan
                                                                     711 Bayshore Drive, #302
                                                                     Fort Lauderdale, FL
                                                                     33304

       Lighthouse Self Storage Ft. Lauderdale                        Boxes and property                    Assorted gold and silver             No
       1121 E. Commercial Blvd.                                      therein are legally titled            coins/leaf bars                      Yes
       Fort Lauderdale, FL 33334                                     in the name of debtor's
                                                                     wife:

                                                                     Cindi Chan
                                                                     711 Bayshore Drive, #302
                                                                     Fort Lauderdale, FL
                                                                     33304


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

           No
           Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Lighthouse Point Self Storage                                 Debtor and non-debtor                 Assorted business and                No
       1121 E. Commercial Blvd.                                      spouse                                personal items, as noted in          Yes
       Fort Lauderdale, FL 33334                                                                           Schedule B and Exhibit 2
                                                                                                           attached thereto




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 Debtor 1      Gary Francis Hoste                                                                               Case number (if known)   15-28607


 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation




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 Debtor 1      Gary Francis Hoste                                                                          Case number (if known)   15-28607



            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Gary Hoste, DC                                          Chiropractic Physician                           EIN:
        2351 W. Atlantic Blvd.
        Pompano Beach, FL 33069                                                                                  From-To      2013-Present

        UCRC Inc.                                               Medical Practice                                 EIN:         XX-XXXXXXX
        2351 W. Atlantic Blvd. 669102
        Pompano Beach, FL 33069                                                                                  From-To      02/2004 - 9/2015

        CBA Health and Wellness, LLC                            Medical Practice                                 EIN:         XX-XXXXXXX
        3838 N. University Drive
        Fort Lauderdale, FL 33351                                                                                From-To      3/2009 - 9/2013

        UCRC Holdings Inc.                                      Medical Practice                                 EIN:         XX-XXXXXXX
        3838 N. University Drive
        Fort Lauderdale, FL 33351                                                                                From-To      6/2008 - 9/2013

        N. Star Lodge 405 Free Masons of                        Masonic Lodge                                    EIN:         XX-XXXXXXX
        FL, Inc
        220 Ocean Street                                                                                         From-To      2010-Present
        Jacksonville, FL 32202


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Gary Francis Hoste
 Gary Francis Hoste                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      January 29, 2016                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                    EXHIBIT 3
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                    EXHIBIT 1
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                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Gary Francis Hoste                                                                               Case No.   15-28607
                                                                                   Debtor(s)                 Chapter    7




                                                      AMENDED
                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing document(s), consisting
            of     45     page(s), and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 29, 2016                                                 Signature   /s/ Gary Francis Hoste
                                                                                   Gary Francis Hoste
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Gary Francis Hoste                                                                        Case No.   15-28607
                                                                                  Debtor(s)           Chapter    7




                                VERIFICATION OF CREDITOR MATRIX - AMENDED


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: January 29, 2016                                                /s/ Gary Francis Hoste
                                                                       Gary Francis Hoste
                                                                       Signature of Debtor




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             ADT Security Services, LLC
             14200 E. Exposition Avenue
             Aurora, CO 80012


             Amex
             Correspondence
             Po Box 981540
             El Paso, TX 79998


             ARMCHEM International Corp.
             3563 NW 53rd Court
             Fort Lauderdale, FL 33309


             AXIS Financial Services
             2774 Gateway Road
             Carlsbad, CA 92009


             Broward County Taxing Authority
             115 Andrews Avenue
             Room A-100
             Fort Lauderdale, FL 33301


             Charles L. Jaffee, P.A.
             7301A W. Palmetto Park Road, Ste. 305-C
             Boca Raton, FL 33433-3466


             CIT
             One CIT Drive
             Livingston, NJ 07039


             CIT Small Business Lending Corp.
             c/o Kubicki Draper
             515 N. Flagler Drive, Suite 1800
             West Palm Beach, FL 33401


             Citi Cards
             P.O. Box 6500
             Sioux Falls, SD 57117


             Citibank/Best Buy
             Centralized Bankruptcy/CitiCorp Credit S
             Po Box 790040
             St Louis, MO 63179
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         Citibankna
         Citibank / One Sto
         O Fallon, MO 63368


         Collections Unlimited, Inc.
         P.O. Box 1236
         Crystal River, FL 34423


         Comcast Cable Communications, LLC
         Attn: Law Department
         One Comcast Center
         Philadelphia, PA 19103-2838


         Dental Law Firm d/b/a Schocet Law Group
         3900 Woodlake Blvd., Suite 202
         Lake Worth, FL 33463


         Euler Hermes Collections
         600 South 7th Street
         Louisville, KY 40203


         Internal Revenue Service
         Stop 6525 (SC CIS)
         Kansas City, MO 64999-0025


         Internal Revenue Service
         Special Procedures - Field Insolvency
         7850 SW 6th Court
         Fort Lauderdale, FL 33324


         Jeffrey Miller
         3422 Bermuda Court
         San Ramon, CA 94582


         Kramer & Associates
         401 Hackensack Avenue
         9th Floor
         Hackensack, NJ 07601


         Navient
         Attn: Claims Dept
         Po Box 9500
         Wilkes-Barr, PA 18773
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         Nelnet
         3015 S. Parker Rd, Ste 425
         Aurora, CO 80014


         Nelnet Inc.
         P.O. Box 82561
         Lincoln, NE 68501


         Pinnacle Recovery, Inc.
         P.O. Box 130848
         Carlsbad, CA 92013-0848


         Sage Capital Recovery
         1040 Kings Hwy N.
         Cherry Hill, NJ 08034


         Small Business Administration
         801 Tom Martin Drive, Suite 120
         Birmingham, AL 35211


         Southeast Toyota Finance
         P.O. Box 991817
         Mobile, AL 36691-8817


         SPM Resorts - La Costa Beach Club
         1504 N. Ocean Blvd.
         Pompano Beach, FL 33062


         Synchrony Bank/ JC Penneys
         Attn: Bankrupty
         Po Box 103104
         Roswell, GA 30076


         Transworld Systems Inc.
         507 Prudential Road
         Horsham, PA 19044


         U.S. Bank Equipment Finance
         P.O. Box 790448
         Saint Louis, MO 63179-0448


         UCRC Holdings, Inc.
         c/o Kenneth Sandler, Esq.
         2924 Davie Road, Suite 200
         Fort Lauderdale, FL 33314
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         UCRC Inc.
         P.O. Box 25056
         Fort Lauderdale, FL 33320-5056


         Us Bank
         200 Gibraltar Rd Ste 315
         Horsham, PA 19044


         World Omni Financial
         6150 Omni Park Dr
         Mobile, AL 36609
